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                            UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION




TERRI GIRT,                                                                  Case No. 3:17-cv-165

                       Plaintiff,                    COMPLAINT
                                                     UNLAWFUL EMPLOYMENT ACTION
                       v.                            FMLA and supplemental state law claims
OREGON EYE SPECIALISTS, P.C.,
                                                     JURY TRIAL DEMANDED
                       Defendants.



                               I. PRELIMINARY STATEMENT

   1.      This action is an action for damages and equitable relief, including compensatory

damages, back pay, front pay, and attorneys’ fees and costs, to redress violation of the Family

and Medical Leave Act, 42 U.S.C. §2000e et seq. as well as supplementary state law claims.

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                                             II. JURISDICTION

    2.       Jurisdiction is conferred upon this Court by 28 U.S.C. §1331, federal question

jurisdiction, and 28 U.S.C. §1343, civil rights jurisdiction.

    3.       Plaintiff requests this Court invoke its supplemental jurisdiction pursuant to

28 U.S.C. § 1367 with respect to all causes of action based on Oregon statutory provisions or

common law as the state claims arise from the same nucleus of operative facts as the federal

claims.

    4.       Venue is in the District of Oregon pursuant to 28 U.S.C. §1391(b) because the claim

arose in this Judicial District.

                                               III. PARTIES

    5.       Plaintiff, Terri Girt (Plaintiff), is a citizen of the United States.

    6.       Defendant Oregon Eye Specialists, P.C. (defendant) is an Oregon domestic profession

corporation, registered to do business in Oregon. Defendant does regular and sustained business

in Oregon, including Multnomah County, Oregon. Defendant has an office in Portland, Oregon,

where Plaintiff was employed.

    7.       Plaintiff worked for defendant in Multnomah County, Oregon.

    8.       At all times relevant, defendant’s employees and supervisors as their conduct is

alleged herein were acting within the course and scope of their employment with the defendant.

                           IV. GENERAL FACTUAL ALLEGATIONS

    9.       In 1996, Plaintiff was diagnosed with diabetes. Plaintiff continues to suffer from

diabetes.

    10.      On July 1, 2014, Plaintiff began working as Business Office Manager for defendant.

  11.    Plaintiff’s supervisor was Zilda Heusinkveld.
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   12.     In 2014, Plaintiff told Ms. Heusinkveld that she had diabetes.

   13.     Around November 2015, Plaintiff told Brenda Hoff, defendant’s HR Coordinator, and

Sarah Lougheed, defendant’s Administrator, that she had diabetes and was having some issues

going through some medication changes. Plaintiff relayed that she was having headaches,

nausea, some memory issues, and not feeling well.

   14.     In November 2015, Ms. Heusinkveld became defendant’s Chief Financial Officer.

   15.     On or about February 26, 2016, Plaintiff notified defendant that she was sick and

needed time off work.

   16.     In March 2016, Plaintiff began experiencing increased complications due to her

diabetes and subsequently missed some work as a result over the next few months. Plaintiff

notified Ms. Heusinkveld, Ms. Hoff, and Ms. Lougheed that her diabetes was interfering with her

work and ability to keep up with the increased work load/stress over the last few months and that

she was continuing to change her diabetes medication to eliminate the complications she was

having.

   17.     On or about March 30, 2016, Plaintiff notified defendant that she needed time off

work due to her headaches. On March 31, 2016, Plaintiff notified defendant that she was still not

feeling well and needed another day off work.

   18.     On or about April 18, 2016, Plaintiff notified defendant that she needed time off work

due to her headaches and to go to the doctor.

   19.     On or about May 12, 2016, Plaintiff notified defendant that she needed time off work

because she was sick.

   20.     On or about June 2, 2016, Plaintiff notified defendant that she needed time off work

because of her diabetes.
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   21.       On Friday June 24, 2016, Plaintiff’s complications relating to her diabetes and

resulting stress and anxiety reached a point where Plaintiff needed to take time off work to seek

medical treatment. Plaintiff approached Ms. Heusinkveld in the hallway to inform her of the

need for time off work. Plaintiff said “I need to talk to you” in an effort to request time off the

following week to see a doctor but Ms. Heusinkveld walked away and would not talk to her.

   22.       Because Ms. Heusinkveld refused to talk to Plaintiff, Plaintiff then called Ms. Hoff

and told her that she tried to talk Ms. Heusinkveld about taking time off work the following week

and that Ms. Heusinkveld would not talk to her. Ms. Hoff then said that she was on PTO and Ms.

Lougheed was out in the field and whatever Plaintiff needed would have to wait until Monday.

Plaintiff said she really needed to resolve this that day. Ms. Hoff again said she was on PTO and

it would have to wait. Ms. Hoff then said goodbye and the conversation ended.

   23.       On June 25, 2016, Plaintiff sent an e-mail to Ms. Hoff and Ms. Lougheed, letting

them know that she needed time off work the following week. Plaintiff did not receive a

response.

   24.       On June 26, 2016, Plaintiff sent a second email requesting time off the following

week. After sending the second request, Plaintiff received an e-mail back from Ms. Hoff asking

if there were any urgent work items that they needed to be aware of and take care of while

Plaintiff was off work the following week.

   25.       On Monday June 27, 2016, Plaintiff saw Dr. Huey Meeker for her medical

conditions. Dr. Meeker took Plaintiff off of work due to Plaintiff’s medical conditions, which

required ongoing treatment. After seeing Dr. Huey Meeker, Plaintiff called Ms. Hoff and told her

that Dr. Meeker took Plaintiff off work and asked her what she needed to do. Ms. Hoff said she

would email Plaintiff medical leave forms. Plaintiff said she was still at the doctor’s office and
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she could pick the forms up on the way home. Ms. Hoff said that was fine and Plaintiff picked

the medical leave forms up that day.

      26.    On June 28, 2016, Plaintiff began treating with a licensed professional counselor to

help cope with her stress and anxiety.

      27.    Plaintiff was off work from June 27, 2016 through July 31, 2016 due to Plaintiff’s

own serious health condition.

      28.    Defendant approved Plaintiff’s FMLA/OFLA leave from June 27, 2016 through July

31, 2016.

      29.    Plaintiff applied for short term disability benefits through Unum, defendant’s benefits

provider, which was approved through July 31, 2016.

      30.    Plaintiff returned to work on August 1, 2016 and was disciplined for taking time off

work that qualified as protected FMLA, OFLA, and sick leave.

      31.    On August 12, 2016, Plaintiff met with Ms. Hoff and Ms. Heusinkveld. Plaintiff was

asked to resign her employment with Defendant. Ms. Heusinkveld said she was very worried

about Plaintiff because of Plaintiff’s health issues this last year. Ms. Heusinkveld said she was

afraid Plaintiff was going to have a heart attack if Plaintiff continued down this path. Ms.

Heusinkveld said Plaintiff had been out for seven weeks and Plaintiff was no better. Plaintiff said

she was not going to resign. Ms. Heusinkveld said she was done with Plaintiff. Ms. Heusinkveld

then told Plaintiff that her employment was terminated.

      32.    On August 12, 2016, Plaintiff was given a letter that said Plaintiff’s “employment

with OES is hereby terminated without specific cause effective immediately.”

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                                   FIRST CLAIM FOR RELIEF

                (Family and Medical Leave Act of 1993 - 29 U.S.C. § 2601 et seq.)

      33.    Plaintiff realleges all relevant paragraphs.

      34.    At all times material, Defendant was engaged in commerce or in any industry or

activity affecting commerce.

      35.    Defendant employed at least 50 employees, within 75 miles of the worksite where

Plaintiff performed work for defendant, for each working day during each of 20 or more calendar

work weeks in 2015 or 2016.

      36.    Plaintiff was employed by defendant for at least 1,250 hours of service during the 12-

month period immediately preceding taking time off work for reasons that qualified for medical

leave.

      37.    Plaintiff was employed by defendant for more than 12 months prior to taking time off

work for reasons that qualified for medical leave.

      38.    Plaintiff took time off work for an illness, injury, impairment, or physical or mental

condition involving continuing treatment by a health care provider.

      39.    Plaintiff took medical leave protected by the Family Medical Leave Act (FMLA).

      40.    Defendant interfered, discriminated and retaliated against Plaintiff for engaging in the

protected activity of taking leave under FMLA.

      41.    As a result of defendant’s interference, discrimination and retaliation against Plaintiff,

Plaintiff suffered and continues to suffer economic losses, emotional distress, and other

nonpecuniary losses.

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   42.     Plaintiff is entitled to equitable relief, including but not limited to, a declaration that

Defendant violated Plaintiff’s statutory rights, reinstatement, and an injunction prohibiting

further discrimination and retaliation.

   43.     Defendant’s acts were willful and malicious and done with reckless indifference to

Plaintiff’s protected rights. Defendants should be assessed punitive damages in an amount as

fixed by a jury to punish defendant and to deter such conduct in the future.

   44.     The court should enter an order declaring that defendant violated the FMLA.

   45.     To the extent any amount awarded to Plaintiff is for damages occurring prior to the

entry of judgment, Plaintiff is entitled to an award of prejudgment interest at the legal rate from

the date the damage occurred until the date of judgment.

   46.     Plaintiff is entitled to an award of liquidated damages pursuant to 29 U.S.C. §

2617(a)(1)(A).

   47.     Pursuant to 29 U.S.C. § 2617(a)(3), Plaintiff is entitled to an award of attorney’s fees,

expert fees, and costs incurred herein.

   48.     Plaintiff is entitled to post judgment interest on all damages, costs, expenses, and fees

from the date of judgment until the date paid.

                                SECOND CLAIM FOR RELIEF

                       (Oregon Family Leave Act - ORS 659A.150 et. seq.)

   49.     Plaintiff realleges all relevant paragraphs.

   50.     Defendant employed 25 or more persons in the State of Oregon for each working day

during each of 20 or more calendar workweeks in the year 2015.

   51.     Defendant employed 25 or more persons in the State of Oregon for each working day

during each of 20 or more calendar workweeks in the year 2016.
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   52.     Immediately prior to commencing family leave in 2016, Plaintiff worked for

defendant for more than 180 days.

   53.     Plaintiff worked an average of more than 25 hours per week for defendant during the

180 days immediately preceding the date on which Plaintiff commenced family leave.

   54.     Plaintiff took time off work for reasons that qualified for leave under the Oregon

Family Leave Act.

   55.     Defendant interfered, discriminated and retaliated against Plaintiff for taking medical

leave.

   56.     As a result of defendant’s interference, discrimination and retaliation against Plaintiff,

Plaintiff suffered and continues to suffer economic losses, emotional distress, and other

nonpecuniary losses.

   57.     Plaintiff is entitled to equitable relief, including but not limited to, a declaration that

Defendant violated Plaintiff’s statutory rights, reinstatement, and an injunction prohibiting

further discrimination and retaliation.

   58.     Pursuant to 659A.885, Plaintiff is entitled to recover back pay.

   59.     Defendant’s acts were willful and malicious and done with reckless indifference to

Plaintiff’s protected rights. Defendants should be assessed punitive damages in an amount as

fixed by a jury to punish defendant and to deter such conduct in the future.

   60.     The court should enter an order declaring that defendant violated the OFLA.

   61.     To the extent any amount awarded to Plaintiff is for damages occurring prior to the

entry of judgment, Plaintiff is entitled to an award of prejudgment interest at the legal rate from

the date the damage occurred until the date of judgment.


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   62.      Pursuant to ORS 659A.885(1) and ORS 20.107, Plaintiff is entitled to recover

Plaintiff's reasonable attorney fees and costs, including expert witness fees.

   63.      Plaintiff is entitled to post judgment interest on all damages, costs, expenses, and fees

from the date of judgment until the date paid.

                                  THIRD CLAIM FOR RELIEF

                                     (ORS 653.641 – Sick leave)

   64.      Plaintiff realleges all relevant paragraphs.

   65.      Plaintiff used sick leave Plaintiff accrued and was entitled to under ORS 653.606 and

653.616.

   66.      In violation of ORS 653.641, Defendant interfered with Plaintiff’s use of sick leave

and retaliated and discriminated against Plaintiff for using sick leave.

   67.      Plaintiff is entitled to equitable relief, including but not limited to, a declaration that

Defendant violated Plaintiff’s statutory rights, reinstatement, and an injunction prohibiting

further discrimination and retaliation.

   68.      As a result of defendant’s interference, discrimination and retaliation against Plaintiff,

Plaintiff suffered and continues to suffer economic losses, emotional distress, and other

nonpecuniary losses.

   69.      Pursuant to 659A.885, Plaintiff is entitled to recover back pay.

   70.      Defendant’s acts were willful and malicious and done with reckless indifference to

Plaintiff’s protected rights. Defendants should be assessed punitive damages in an amount as

fixed by a jury to punish defendant and to deter such conduct in the future.

   71.      The court should enter an order declaring that defendant violated ORS 653.641.


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   72.       To the extent any amount awarded to Plaintiff is for damages occurring prior to the

entry of judgment, Plaintiff is entitled to an award of prejudgment interest at the legal rate from

the date the damage occurred until the date of judgment.

   73.       Pursuant to ORS Chapter 659A and ORS 20.107, Plaintiff is entitled to recover

Plaintiff's reasonable attorney fees and costs, including expert witness fees.

   74.       Plaintiff is entitled to post judgment interest on all damages, costs, expenses, and fees

from the date of judgment until the date paid.

                                 FOURTH CLAIM FOR RELIEF

                                       (Wrongful Termination)

   75.       Plaintiff realleges all relevant paragraphs.

   76.       Defendant terminated Plaintiff’s employment because Plaintiff invoked, utilized, or

inquired about her right to FMLA and OFLA leave.

   77.       Plaintiff’s remedies under state and federal law do not constitute an adequate remedy

for the damage Defendant has inflicted.

   78.       As a result of the wrongful discharge, Plaintiff suffered economic and non-economic

damages.

   79.       Plaintiff is entitled to an award for past lost wages and benefits and future lost

earnings, benefits, and lost earning capacity, and other compensatory damages for past and future

pecuniary losses. Plaintiff should be awarded economic damages in an amount determined fair

by a jury.

   80.       Plaintiff is entitled to non-economic damages sufficient to compensate Plaintiff for

emotional distress and other nonpecuniary losses in an amount to be proved at trial. Plaintiff

should be awarded non-economic damages in an amount determined fair by a jury.
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   81.     Defendant’s acts were willful and malicious and done with reckless indifference to

Plaintiff’s protected rights. Defendants should be assessed punitive damages in an amount as

fixed by a jury to punish defendant and to deter such conduct in the future.

   82.     To the extent any amount awarded to Plaintiff is for damages occurring prior to the

entry of judgment, Plaintiff is entitled to an award of prejudgment interest at the legal rate from

the date the damage occurred until the date of judgment.

   83.     Pursuant to ORS 20.107, Plaintiff is entitled to an award of attorney fees and expert

witness fees.

   84.     Plaintiff is entitled to post judgment interest on all damages, costs, expenses, and fees

from the date of judgment until the date paid.

                                  FIFTH CLAIM FOR RELIEF

                       (ORS 659A.103 et seq. - Oregon Rehabilitation Act)

   85.     Plaintiff realleges all relevant paragraphs.

   86.     Plaintiff is a ‘disabled person’ as defined at ORS 659A.104(1).

   87.     Defendant is an ‘employer’ as defined at ORS 659A.106.

   88.     Plaintiff could perform the essential functions of Plaintiff's job with defendant with or

without reasonable accommodations.

   89.     Defendant discriminated against Plaintiff because of Plaintiff’s disability and

retaliated against Plaintiff taking time off work due to her disability.

   90.     Defendant failed to engage in the interactive process with Plaintiff.

   91.     Defendant’s refusal to provide reasonable accommodations for Plaintiff’s known

disability constitutes discrimination against Plaintiff due to Plaintiff's disability pursuant to ORS

659A.103 et seq.
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   92.       Plaintiff is entitled to equitable relief, including but not limited to, a declaration that

Defendant violated Plaintiff’s statutory rights, reinstatement, and an injunction prohibiting

further discrimination and retaliation.

   93.       Plaintiff is entitled to an award for past lost wages and benefits and future lost

earnings, benefits, and lost earning capacity, and other compensatory damages for past and future

pecuniary losses. Plaintiff should be awarded economic damages in an amount determined fair

by a jury.

   94.       Plaintiff is entitled to non-economic damages sufficient to compensate Plaintiff for

emotional distress and other nonpecuniary losses in an amount to be proved at trial. Plaintiff

should be awarded non-economic damages in an amount determined fair by a jury.

   95.       Defendant’s acts were willful and malicious and done with reckless indifference to

Plaintiff’s protected rights. Defendants should be assessed punitive damages in an amount as

fixed by a jury to punish defendant and to deter such conduct in the future.

   96.       The court should enter an order declaring that defendant violated the Oregon

Rehabilitation Act.

   97.       To the extent any amount awarded to Plaintiff is for damages occurring prior to the

entry of judgment, Plaintiff is entitled to an award of prejudgment interest at the legal rate from

the date the damage occurred until the date of judgment.

   98.       Pursuant to ORS Chapter 659A and ORS 20.107, Plaintiff is entitled to recover

Plaintiff's reasonable attorney fees and costs, including expert witness fees.

   99.       Plaintiff is entitled to post judgment interest on all damages, costs, expenses, and fees

from the date of judgment until the date paid.

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                                     PRAYER FOR RELIEF

       Plaintiff prays for the following judgment against defendant:

       1.     A sum which will fully compensate Plaintiff for Plaintiff's non-economic

   damages in a sum that is just as determined by a jury;

       2.     A sum which will fully compensate Plaintiff for Plaintiff's economic damages in a

   sum that is just as determined by a jury;

       3.     Equitable relief, including but not limited to, reinstatement if Plaintiff so chooses;

       4.     Liquidated damages;

       5.     Plaintiff’s costs and disbursements incurred herein;

       6.     Plaintiff’s attorney fees; and

       7.     For such other and further relief as the Court may deem just and equitable.

Plaintiff demands a trial by Jury.

Dated: January 30, 2017
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